          Case 2:17-cv-01611-RSL Document 187 Filed 06/04/24 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE

ANDREA SCHMITT; ELIZABETH                         )
MOHUNDRO; and O.L. by and through her             ) CASE NO. 2:17-cv-1611-RSL
parents, J.L. and K.L., each on their own behalf, )
and on behalf of similarly situated individuals, )
                                                  ) STIPULATION AND ORDER OF
                Plaintiffs,                       ) DISMISSAL
                                                  )
       v.
                                                  )
KAISER FOUNDATION HEALTH PLAN OF )
WASHINGTON; KAISER FOUNDATION                     )
HEALTH PLAN OF WASHINGTON                         )
OPTIONS, INC.; KAISER FOUNDATION                  )
HEALTH PLAN OF THE NORTHWEST; and )
KAISER FOUNDATION HEALTH PLAN,                    )
INC.,                                             )
                                                  )
                Defendants.                       )
                                                  )
                                                  )

        COMES NOW Defendants Kaiser Foundation Health Plan of Washington; Kaiser

Foundation Health Plan of Washington Options, Inc.; Kaiser Foundation Health Plan of The

Northwest; and Kaiser Foundation Health Plan, Inc. (collectively “Defendants”) and Plaintiffs

Andrea Schmitt; Elizabeth Mohundro; and O.L. by and through her parents, J.L. and K.L., each

on behalf of themselves and on behalf of the class of persons certified by this court’s order dated

December 11, 2023 (Dkt. 170) (collectively “Plaintiffs”), by and through their respective counsel


                                                                             KARR TUTTLE CAMPBELL
                                                                            701 Fifth Avenue, Suite 3300
STIPULATION AND ORDER OF DISMISSAL                                           Seattle, Washington 98104
CASE NO. 17-cv-1611 RSL                                                             Main: (206) 223 1313
#5597429 v4 / 22408-614                                                              Fax: (206) 682 7100
          Case 2:17-cv-01611-RSL Document 187 Filed 06/04/24 Page 2 of 3




of record, hereby jointly stipulate that this matter has been fully resolved and that all of the

claims in the above-entitled matter are dismissed with prejudice and without costs or fees.

IT IS SO STIPULATED this 3rd day of June, 2024.




Dated:           6/3/24                                Dated:          6/3/24

 SIRIANNI YOUTZ SPOONEMORE                          KARR TUTTLE CAMPBELL
 HAMBURGER

 s/Richard E. Spoonemore                            s/Medora A. Marisseau
 Eleanor Hamburger                                  Medora A. Marisseau, WSBA #23114
 Richard E. Spoonemore                              Mark A. Bailey, WSBA #26337
 3101 Western Avenue Ste 350                        Joshua M. Howard, WSBA #52189
 Seattle, WA 98121                                  701 Fifth Avenue, Suite 3300
 206-223-0303                                       Seattle, WA 98104
 Fax: 206-223-0246                                  Telephone: 206-223-1313
 ehamburger@sylaw.com                               Facsimile: 206-682-7100
 rspoonemore@sylaw.com                              Email: mmarisseau@karrtuttle.com
                                                    mbailey@karrtuttle.com
 Attorneys for Plaintiffs                           jhoward@karrtuttle.com

                                                    Attorneys for Defendants




                                                                                KARR TUTTLE CAMPBELL
                                                                                701 Fifth Avenue, Suite 3300
STIPULATION AND ORDER OF DISMISSAL                                               Seattle, Washington 98104
CASE NO. 17-cv-1611 RSL                                                                 Main: (206) 223 1313
#5597429 v4 / 22408-614                                                                  Fax: (206) 682 7100
          Case 2:17-cv-01611-RSL Document 187 Filed 06/04/24 Page 3 of 3




                                    ORDER OF DISMISSAL


        On April 18, 2024, the Court entered an order finally approving a class action settlement

agreement and granting the motion for attorney’s fees, costs, and case contribution awards. Dkt.

# 183. The matter is again before the Court upon stipulation set forth above. With good cause

having been shown, it is hereby ORDERED, ADJUDGED, AND DECREED that all of the claims

in the above-entitled matter are hereby DISMISSED in their entirety with prejudice and without

further award of costs or fees to any party.



        Dated this 4th day of June, 2024.



                                               Robert S. Lasnik
                                               United States District Judge




                                                                           KARR TUTTLE CAMPBELL
                                                                          701 Fifth Avenue, Suite 3300
STIPULATION AND ORDER OF DISMISSAL                                         Seattle, Washington 98104
CASE NO. 17-cv-1611 RSL                                                           Main: (206) 223 1313
#5597429 v4 / 22408-614                                                            Fax: (206) 682 7100
